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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



  In re:
                                                           Chapter 11
  MOTORS LIQUIDATION COMPANY et al.,
                                                           Case No. 09-50026 (REG)
           f/k/a GENERAL MOTORS CORP. et al.,
                                                           (Jointly Administered)
                   Debtors.


            CONSENT DECREE AND SETTLEMENT AGREEMENT BETWEEN
              THE GUC TRUST AND THE UNITED STATES OF AMERICA

                                      I.      BACKGROUND

           WHEREAS, on June 1, 2009, Motors Liquidation Company (f/k/a General Motors

 Corporation) (“MLC”) and its affiliated debtors (collectively, the “Initial Debtors”),

 commenced voluntary cases under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”) before the United States Bankruptcy Court for the Southern District

 of New York (the “Court”), Case No. 09-50026 (REG);

           WHEREAS, on October 9, 2009, two additional debtors, REALM and ENCORE

 (together with the Initial Debtors, the “Debtors”), commenced voluntary cases under

 chapter 11 of the Bankruptcy Code;

           WHEREAS, the chapter 11 cases filed by the Initial Debtors, REALM and

 ENCORE have been consolidated for procedural purposes and are being administered

 jointly as Case No. 09-50026 (REG) (the “Bankruptcy”);

           WHEREAS, the United States of America (the “United States”), by its attorney, Preet

 Bharara, United States Attorney for the Southern District of New York, on behalf of the United States

 Environmental Protection Agency (“EPA”), has alleged that MLC and/or affiliated Debtors are
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 potentially responsible or liable parties with respect to the Onondaga Lake Bottom, Salina

 Landfill, Inland Fisher Guide and Deferred Media, and PCB Dredgings subsites of the Onondaga

 Lake Superfund Site in New York (collectively, the “Settled Onondaga Subsites”);

         WHEREAS, the United States on behalf of EPA has alleged that the Debtors are liable

 under the Comprehensive Environmental Response, Compensation, and Liability Act

 (“CERCLA”), 42 U.S.C. §§ 9601-9675, for costs EPA has incurred or will incur in response to

 releases and threats of releases of hazardous substances at or in connection with the Settled Onondaga

 Subsites;

         WHEREAS on March 29, 2011, the Court issued its Findings of Fact, Conclusions

 of Law, and Order Pursuant to Sections 1129(a) and (b) of the Bankruptcy Code and Rule

 3020 of the Federal Rules of Bankruptcy Procedure Confirming Debtors’ Second

 Amended Joint Chapter 11 Plan (the “Plan of Liquidation”) which, among other things,

 confirmed the Debtors’ Second Amended Joint Chapter 11 Plan (“Plan”), and established

 the Motors Liquidation GUC Trust (“GUC Trust”) pursuant to the Motors Liquidation

 Company GUC Trust Agreement;

         WHEREAS pursuant to the Plan of Liquidation, the Debtors have dissolved and the

 GUC Trust is authorized to resolve all remaining claims on behalf of the Debtors;

         WHEREAS, (i) on November 28, 2009, the United States timely filed duplicate

 copies of its proof of claim against MLC both in the Bankruptcy Court and directly with

 the Debtors’ claims agent, and the two copies of the identical proof of claim were assigned

 Nos. 67362 and 64064, and (ii) on April 16, 2010, the United States filed proofs of claim

 against REALM and ENCORE which were assigned Nos. 70254 and 70255, respectively,

 (collectively, the “First U.S. Proof of Claim”);




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         WHEREAS, on April 8, 2011, the United States filed a second proof of claim (the

 “Second U.S. Proof of Claim”) against MLC in the Bankruptcy Court that supersedes the First

 U.S. Proof of Claim;

         WHEREAS, on March 29, 2011, June 17, 2011, and March 29, 2012, the Bankruptcy

 Court entered a total of ten previous Consent Decrees and Settlement Agreements between the

 Debtors and the United States resolving certain claims of the United States for various sites other

 than the Settled Onondaga Subsites;

         WHEREAS, one of these previous Consent Decrees and Settlement Agreements between

 the Debtors and the United States resolved the Debtors’ liabilities to the United States for future

 response costs at the Inland Fisher Guide and Deferred Media subsite of the Onondaga Lake

 Site and the PCB Dredgings subsite of the Onondaga Lake Site;

         WHEREAS, the GUC Trust and the United States (collectively, the “Parties”) have

 differences of opinion with respect to the claims asserted by the United States regarding the

 Settled Onondaga Subsites in the Second U.S. Proof of Claim and wish to resolve their

 differences with respect to the Settled Onondaga Subsites in the Second U.S. Proof of Claim as

 provided herein;

         WHEREAS, the treatment of liabilities provided for herein represents a compromise of

 the positions of the Parties and is entered into solely for purposes of this settlement;

         WHEREAS, this Settlement Agreement is in the public interest and is an appropriate

 means of resolving these matters;

         WHEREAS the claims set forth in the Second U.S. Proof of Claim for all sites

 other than the Settled Onondaga Subsites which have not been otherwise settled (the




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 “Surviving Claims”) shall survive and in no way be affected by this settlement, and the

 GUC Trust retains all existing rights to object to all or some of the Surviving Claims;

          NOW, THEREFORE, without the admission of liability or the adjudication of any issue

 of fact or law, and upon the consent and agreement of the parties to this Settlement Agreement by

 their attorneys and authorized officials, it is hereby agreed as follows:

                                       II.      DEFINITIONS

     1.       Unless otherwise expressly provided herein, terms used in this Settlement Agreement

  that are defined in CERCLA or its regulations or in the Bankruptcy Code shall have the meaning

  assigned to them in CERCLA, its regulations, or the Bankruptcy Code. Whenever terms listed

  below are used in this Settlement Agreement, the following definitions shall apply:

             a. “Allowed General Unsecured Claim” has the meaning set forth in the Plan.

             b. “Bankruptcy” has the meaning set forth in the recitals.

             c. “Bankruptcy Code” has the meaning set forth in the recitals.

             d. “Bankruptcy Court” or the “Court” has the meaning set forth in the recitals.

             e. “CERCLA” has the meaning set forth in the recitals.

             f. “Claim” has the meaning provided in section 101(5) of the Bankruptcy Code.

             g. “Distribution” has the meaning set forth in the Plan.

             h. “Effective Date” means the date an order is entered by the Bankruptcy Court

                 approving this Settlement Agreement.

             i. “EPA” has the meaning set forth in the recitals.

             j. “EPA Allowed Claim” means the total amount of Allowed General Unsecured

                 Claims by EPA in settlement and satisfaction of its claims concerning the Settled

                 Onondaga Subsites.




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            k. “Motors Liquidation Company GUC Trust” has the meaning set forth in the

                Plan.

            l. “Hazardous Substance Superfund” means the Hazardous Substance Superfund

                established by 26 U.S.C. § 9507.

            m. “MLC” has the meaning set forth in the recitals.

            n. “NPL” means the National Priorities List, 42 U.S.C. § 9605.

            o. “Onondaga Lake Site” means the Onondaga Lake Superfund Site located in the

                City of Syracuse and the Towns of Salina, Geddes, and Camillus, New York.

            p. “Parties” has the meaning set forth in the recitals.

            q. “Petition Date” means June 1, 2009, in the case of the Initial Debtors, and

                October 9, 2009, in the case of REALM and ENCORE.

            r. “Plan of Liquidation” or “Plan” has the meaning set forth in the recitals.

            s. “Second U.S. Proof of Claim” has the meaning set forth in the recitals.

            t. “Settlement Agreement” means this Consent Decree and Settlement Agreement

                between the Debtors and the United States of America.

            u. “Settled Onondaga Subsites” has the meaning set forth in the recitals.

            v. “United States” means the United States of America and all of its agencies,

                departments, and instrumentalities, including EPA.

                                     III. JURISDICTION

    2.       The Bankruptcy Court has jurisdiction over the subject matter hereof pursuant to 28

 U.S.C. §§ 157, 1331, and 1334, and 42 U.S.C. §§ 9607 and 9613(b).




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               IV.      PARTIES BOUND; SUCCESSION AND ASSIGNMENT

     3.       This Settlement Agreement applies to, is binding upon, and shall inure to the benefit

 of the United States, the Debtors’ estates, the GUC Trust, their legal successors and assigns, and

 any other trustee, examiner, or receiver appointed in the Bankruptcy Cases.

                                  V.      ALLOWED CLAIM

     4.       In full settlement and satisfaction of the Second U.S. Proof of Claim with respect to

 the Settled Onondaga Subsites, the United States shall receive an Allowed General Unsecured

 Claim in the total amount of $896,566, classified in Class 3 under the Plan of Liquidation, which

 shall be allocated as follows:

             a. The United States, on behalf of EPA, shall have an Allowed General Unsecured

                 Claim of $438,448 for its unreimbursed past and future oversight costs at the

                 Onondaga Lake Bottom subsite of the Onondaga Lake Site.

             b. The United States, on behalf of EPA, shall have an Allowed General Unsecured

                 Claim of $113,248 for its unreimbursed past and future costs at the Salina

                 Landfill subsite of the Onondaga Lake Site.

             c. The United States, on behalf of EPA, shall have an Allowed General Unsecured

                 Claim of $234,475 for its unreimbursed past costs at the Inland Fisher Guide

                 and Deferred Media subsite of the Onondaga Lake Site.

             d. The United States, on behalf of EPA, shall have an Allowed General Unsecured

                 Claim of $110,395 for its unreimbursed past costs at the PCB Dredgings

                 subsite of the Onondaga Lake Site.




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     5.       Upon the Effective Date, the Second U.S. Proof of Claim shall be deemed fully

 settled and satisfied as to the Settled Onondaga Subsites only and the claims agent shall be

 authorized and empowered to adjust the claims register accordingly.

     6.       The Second U.S. Proof of Claim shall be deemed allowed in the respective amounts

 set forth herein as to the Settled Onondaga Subsites for purposes of distributions under the Plan of

 Liquidation, and shall be entitled to receive payment in the next distribution under the Plan.

     7.       As to those claims not resolved by this or any other settlement agreement between

 the United States and the GUC Trust, the Second U.S. Proof of Claim shall remain pending and

 the post-effective date Debtors and/or GUC Trust reserve all existing rights to object to the

 Second U.S. Proof of Claim.

     8.       Nothing contained herein shall reduce the ability of the GUC Trust to enforce

 as to all claimants, other than the United States, Section 7.2 of the Plan requiring that all

 claims must be resolved before any distribution on account of allowed claims may occur.

     9.       The allowed claims provided for herein shall be treated as provided under Section

 4.3 of the Plan of Liquidation and shall not be subordinated to any other allowed Class 3

 Unsecured Claim pursuant to any provision of the Bankruptcy Code or other applicable law that

 authorizes or provides for subordination of allowed claims, including, without limitation, Sections

 105, 510, and 726(a)(4) of the Bankruptcy Code.

     10.      The GUC Trust shall reduce the distribution reserve amount to be used by the

 GUC Trust pursuant to Article VII of the Plan for the remaining unresolved general

 unsecured claims against Debtors asserted in the Second U.S. Proof of Claim by no more

 than $50 million.




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     11.      Any cash distribution or the proceeds of any non-cash distribution received by EPA

 on account of an Allowed General Unsecured Claim under this Settlement Agreement may be

 deposited in a special account within the Superfund to be retained and used to fund response

 actions at the Settled Onondaga Subsites, or, if no further response action is required, or as

 otherwise required by EPA policy, transferred by EPA to the Superfund.

     12.      Only the amount of cash received by EPA (and net cash received upon sale of any

 non-cash distributions) pursuant to this Settlement Agreement for the Allowed General Unsecured

 Claim, and not the total amount of the Allowed General Unsecured Claim, shall be credited by

 EPA to its account for the Onondaga Lake Site, and shall reduce the liability of non-settling

 potentially responsible parties at each applicable subsite of the Onondaga Lake Site by the amount

 of cash received for that subsite’s Allowed General Unsecured Claim recovery.

                              VI.      PAYMENT INSTRUCTIONS

     13.      Cash distributions to the United States pursuant to this Settlement Agreement shall

 be made at https://www.pay.gov to the U.S. Department of Justice account in accordance with

 instructions provided to the Debtors by the Financial Litigation Unit of the United States

 Attorney’s Office for the Southern District of New York and shall reference Bankruptcy Case

 Number 09-50026 and DOJ File Number 90-11-3-09754.

     14.      Non-cash distributions to the United States shall be made to:

                 U.S. Environmental Protection Agency
                 Attn: Molly Williams
                 Suite 300
                 4411 Montgomery Rd.
                 Cincinnati, OH 45212

     15.      The GUC Trust shall transmit written confirmation of such cash and non-cash

 distributions to the United States at the addresses specified below:




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                 The United States:

                 Chief, Environmental Enforcement Section
                 Environment and Natural Resources Division
                 U.S. Department of Justice
                 P.O. Box 7611
                 Ben Franklin Station
                 Washington, DC 20044
                 Ref. DOJ File No. 90-11-3-1-09754

                 DAVID S. JONES
                 NATALIE N. KUEHLER
                 Assistant United States Attorney
                 Office of the United States Attorney
                 for the Southern District of New York
                 86 Chambers Street, Third Floor
                 New York, NY 10007


                 EPA:

                 CRAIG KAUFMAN
                 Attorney-Advisor
                 U.S. Environmental Protection Agency
                 Ariel Rios Building
                 1200 Pennsylvania Avenue, NW
                 Washington, DC 20460


          VII.    COVENANTS NOT TO SUE AND RESERVATION OF RIGHTS

    16.      In consideration of the payments and/or distributions that will be made under the

 terms of this Settlement Agreement, and except as specifically provided in Paragraphs 18 through

 20, the United States on behalf of EPA covenants not to file a civil action or to take any

 administrative or other civil action against the post-effective date Debtors or the GUC Trust

 pursuant to Sections 106 or 107 of CERCLA, 42 U.S.C. §§ 9606 or 9607, with respect to the

 Settled Onondaga Subsites.

    17.      These covenants not to sue (and any reservations thereto) shall also apply to the post-

 effective date Debtors and the GUC Trust’s successors, assigns, officers, directors, employees,



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 and trustees, but only to the extent that the alleged liability of the successor or assign, officer,

 director, employee, or trustee of the GUC Trust or the post-effective date Debtors is based solely

 on its status as and in its capacity as a successor or assign, officer, director, employee, or trustee of

 the GUC Trust or the post-effective date Debtors. For purposes of this Paragraph, New GM shall

 not be considered a successor or assign of the GUC Trust.

     18.      The covenants not to sue set forth in this Settlement Agreement shall extend only to

 the GUC Trust, the post-effective date Debtors and the persons described in Paragraph 17 above

 and do not extend to any other person. Nothing in this Settlement Agreement is intended as a

 covenant not to sue or a release from liability for any person or entity other than the GUC Trust,

 the post-effective date Debtors, the United States, and the persons or entities described in

 Paragraph 17 above. The United States and the GUC Trust expressly reserve all claims, demands,

 and causes of action, either judicial or administrative, past, present, or future, in law or equity,

 which they may have against all other persons, firms, corporations, entities, or predecessors of the

 GUC Trust for any matter arising at or relating in any manner to the Settled Onondaga Subsites.

     19.      The covenants not to sue set forth in Paragraph 16 do not pertain to any matters other

 than those expressly specified therein.

     20.      The United States expressly reserves, and this Settlement Agreement is without

 prejudice to, all rights against the GUC Trust and the post-effective date Debtors with respect to

 all matters other than those set forth in Paragraph 16. The United States also specifically reserves,

 and this Settlement Agreement is without prejudice to, any action based on (i) a failure to meet a

 requirement of this Settlement Agreement; (ii) criminal liability; (iii) liability for damages for

 injury to, destruction of, or loss of natural resources; (iv) liability for response costs that have been

 or may be incurred by federal agencies which are trustees for natural resources; and (v) liability




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 with respect to any site other than the Settled Onondaga Subsites. In addition, the United States

 reserves, and this Settlement Agreement is without prejudice to, all rights against the GUC Trust

 with respect to the Settled Onondaga Subsites for liability under federal or state law for acts by the

 GUC Trust, or their respective successors, or assigns that occur after the date of lodging of this

 Settlement Agreement. Nothing in this Settlement Agreement shall be deemed to limit the

 authority of the United States to take response action under Section 104 of CERCLA, 42 U.S.C. §

 9604, or any other applicable law or regulation, or to alter the applicable legal principles

 governing judicial review of any action taken by the United States pursuant to such authority.

 Nothing in this Settlement Agreement shall be deemed to limit the information-gathering

 authority of the United States under Sections 104 and 122 of CERCLA, 42 U.S.C. §§ 9604 and

 9622, or any other applicable law or regulation, or to excuse the Debtors or the GUC Trust from

 any disclosure or notification requirements imposed by CERCLA or any other applicable law or

 regulation.

     21.       Entry of an order approving this Settlement Agreement by the Court shall bar the

 post-effective date Debtors from asserting or pursing, and the GUC Trust hereby covenants not to

 sue and agrees not to assert or pursue, any claims or causes of action against the United States,

 including any department, agency, or instrumentality of the United States, with respect to the

 Settled Onondaga Subsites, including, but not limited to: (i) any direct or indirect claim for

 reimbursement from the Hazardous Substances Superfund established pursuant to 26 U.S.C. §

 9507; (ii) any claim against the United States under Sections 107 or 113 of CERCLA, 42 U.S.C.

 §§ 9607 or 9613; or (iii) any claims arising out of response activities at the Settled Onondaga

 Subsites. Nothing in this Settlement Agreement shall be deemed to constitute preauthorization of




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 a claim within the meaning of Section 111 of CERCLA, 42 U.S.C. § 9611, or 40 C.F.R. §

 300.700(d).

                           VIII. CONTRIBUTION PROTECTION

     22.       The Parties agree, and by entering this Settlement Agreement the Court finds, that

 this settlement constitutes a judicially-approved settlement for purposes of Section 113(f)(2) of

 CERCLA, 42 U.S.C. § 9613(f)(2), and that the GUC Trust and the post-effective date Debtors are

 entitled, as of the Effective Date, to protection from contribution actions or claims as provided by

 Section 113(f)(2) of CERCLA, 42 U.S.C. § 9613(f)(2), or as may be otherwise provided by law,

 for “matters addressed” in this Settlement Agreement. Subject to the last sentence of this

 Paragraph, the “matters addressed” in this Settlement Agreement, as that phrase is used in Section

 113(f)(2) of CERCLA, 42 U.S.C. § 9613(f)(2), include, without limitation, claims by EPA or

 potentially responsible parties for response costs at or in connection with the Settled Onondaga

 Subsites, including claims related to releases of hazardous substances from any portion of the

 Settled Onondaga Subsites and all areas affected by migration of hazardous substances emanating

 from the Settled Onondaga Subsites. The “matters addressed” in this Settlement Agreement do

 not include (i) claims by Honeywell International Inc (“Honeywell”) against the Debtors or the

 GUC Trust set forth in Honeywell’s proof of claim number 45832 that relate to response costs,

 including investigative and remedial costs, incurred or to be incurred by Honeywell in connection

 with the Lake Bottom subsite of the Onondaga Lake Site, with the exception of any claims by

 Honeywell for past unreimbursed or future oversight costs incurred by EPA in connection with the

 Lake Bottom subsite of the Onondaga Lake Site; (ii) claims against the Debtors or the GUC Trust

 for past response costs incurred by potentially responsible parties prior to the date of lodging this

 Settlement Agreement with the Bankruptcy Court and included in proofs of claim filed in any of




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 the Bankruptcy Cases by potentially responsible parties with respect to the Settled Onondaga

 Subsites; and (iii) claims for natural resource damages, assessment costs, or restoration costs filed

 by or on behalf of the United States Department of Interior and/or National Oceanic and

 Atmospheric Administration.

     23.      The GUC Trust agrees that, with respect to any suit for contribution brought against

 any it or the post-effective date Debtors after the Effective Date for matters related to this

 Settlement Agreement, the GUC Trust will notify the United States within fifteen business days of

 service of the complaint upon them. In addition, in connection with such suit, the GUC Trust, on

 behalf of itself or the post-effective date Debtors, shall notify the United States within fifteen

 business days of service or receipt of any Motion for Summary Judgment and within fifteen

 business days of receipt of any order from a court setting a case for trial (provided, however, that

 the failure to notify the United States pursuant to this Paragraph shall not in any way affect the

 protections afforded under Section VIII of this Settlement Agreement).

                 IX.      JUDICIAL APPROVAL AND PUBLIC COMMENT

     24.      The GUC Trust shall promptly seek approval of this Settlement Agreement under

 Bankruptcy Rule 9019 or applicable provisions of the Bankruptcy Code, if necessary.

     25.      This Settlement Agreement shall be lodged with the Bankruptcy Court and shall

 thereafter be subject to a period of public comment following publication of notice of the

 Settlement Agreement in the Federal Register. After the conclusion of the public comment

 period, the United States will file with the Bankruptcy Court any comments received, as well as

 the United States’ responses to the comments, and at that time, if appropriate, the United States

 will request approval of the Settlement Agreement. The United States reserves the right to




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 withdraw or withhold its consent if the comments regarding the Settlement Agreement disclose

 facts or considerations which indicate that the Settlement Agreement is not in the public interest.

     26.      If for any reason (i) the Settlement Agreement is withdrawn by the United States as

 provided in Paragraph 25, or (ii) the Settlement Agreement is not approved by the Bankruptcy

 Court: (a) this Settlement Agreement shall be null and void and the parties hereto shall not be

 bound under the Settlement Agreement or under any documents executed in connection herewith;

 (b) the parties shall have no liability to one another arising out of or in connection with this

 Settlement Agreement or under any documents executed in connection herewith; and (c) this

 Settlement Agreement and any documents prepared in connection herewith shall have no residual

 or probative effect or value.

                                         X.       NOTICES

     27.      Whenever, under the terms of this Settlement Agreement, written notice is required

 to be given, or a report or other document is required to be sent by one Party to another, it shall be

 directed to the individuals at the addresses specified below via U.S. mail, unless those individuals

 or their successors give notice of a change of address to the other Parties in writing. All notices

 and submissions shall be considered effective upon receipt, unless otherwise provided. Except as

 otherwise provided in this Settlement Agreement, written notice as specified herein shall

 constitute complete satisfaction of any written notice requirement in the Settlement Agreement

 with respect to the United States and the GUC Trust or the Debtors’ estates, respectively.




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                 As to the United States:

                 Chief, Environmental Enforcement Section
                 Environment and Natural Resources Division
                 U.S. Department of Justice
                 P.O. Box 7611
                 Ben Franklin Station
                 Washington, DC 20044
                 Ref. DOJ File No. 90-11-3-09754

                 Natalie N. Kuehler
                 Assistant United States Attorney
                 Office of the United States Attorney
                 for the Southern District of New York
                 86 Chambers Street, Third Floor
                 New York, NY 10007

                 Craig Kaufman
                 Attorney-Advisor
                 U.S. Environmental Protection Agency
                 Ariel Rios Building
                 1200 Pennsylvania Avenue, NW
                 Washington, DC 20460


                 As to the GUC Trust:

                 David A. Vanaskey
                 Vice President
                 Wilmington Trust Company
                 Rodney Square North
                 1110 North Market Street
                 Wilmington, DE 19890-1615


               XI.      INTEGRATION, AMENDMENTS, AND EXECUTION

     28.      This Settlement Agreement constitutes the sole and complete agreement of the

 parties hereto with respect to the matters addressed herein. This Settlement Agreement may not

 be amended except by a writing signed by all parties to this Settlement Agreement.

     29.      This Settlement Agreement may be executed in counterparts, each of which shall

 constitute an original, and all of which shall constitute one and the same agreement.



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                          XII.    RETENTION OF JURISDICTION

     30.      The Bankruptcy Court shall retain jurisdiction over the subject matter of this

 Settlement Agreement and the parties hereto for the duration of the performance of the terms and

 provisions of this Settlement Agreement for the purpose of enabling any of the parties to apply at

 any time for such further order, direction, and relief as may be necessary or appropriate for the

 construction or interpretation of this Settlement Agreement or to effectuate or enforce compliance

 with its terms.

                                 [SIGNATURE PAGE FOLLOWS]




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